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16
                                UNITED STATES DISTRICT COURT
17
                                      DISTRICT OF NEVADA
18
     GEOFF WINKLER, as court-appointed receiver for Case No.: 2:23-cv-00703-APG-NJK
19   J&J Consulting Services, Inc., an Alaska
20   corporation; J&J Consulting Services, Inc., a
     Nevada corporation; and J and J Purchasing LLC,
                                                         ANSWER TO COMPLAINT
21   Florida limited liability company,

22                 Plaintiff,
23
            v.
24
     WELLS FARGO BANK, N.A.,
25
                   Defendant.
26

27

28

                                                  1
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 1          COMES NOW Defendant WELLS FARGO BANK, N.A., by and through its attorneys of

 2 record, and hereby answers the Complaint of Plaintiff Geoff Winkler (the “Receiver”), as the court-

 3 appointed receiver for J&J Consulting Services, Inc., an Alaska corporation (“J&J Alaska”), J&J

 4 Consulting Services, Inc., a Nevada corporation (“J&J Nevada”) and J and J Purchasing LLC (“J

 5 and J Purchasing”) (collectively, the “Receivership Entities”) (Dkt. 1) as follows:

 6                                            INTRODUCTION

 7          1.     Wells Fargo admits that the Security and Exchange Commission (“SEC”) filed the

 8 complaint in the matter of Securities and Exchange Commission v. Beasley et al., Case No. 2:22-

 9 cv-00612-CDS-EJY, pending in the United States District Court District of Nevada (hereinafter, the
10 “SEC Complaint” and the “SEC Action”) and that Matthew Beasley was indicted in the matter of

11 United States v. Beasley, 2:23-cr-0066-JAD-DJA (D. Nev.) (the “Criminal Action”). The remainder

12 of the allegations of Paragraph 1 purport to summarize the SEC Complaint and Criminal Action

13 indictment, each of which are documents in writing and are the best evidence of what is contained

14 therein. To the extent the allegations of Paragraph 1 contradict or mischaracterize these documents,

15 they are denied.

16          2.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
17 of the allegations in Paragraph 2 and therefore denies the allegations.

18          3.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
19 of the allegations in Paragraph 3 and therefore denies the allegations.

20          4.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
21 of the allegations in Paragraph 4 and therefore denies the allegations.

22          5.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
23 of the allegations in Paragraph 5 and therefore denies the allegations.

24          6.     Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
25 of the allegations in Paragraph 6 and therefore denies the allegations.

26          7.     The allegations in Paragraph 7 are denied.

27          8.     The allegations in Paragraph 8 are denied.

28          9.     The allegations in Paragraph 9 are denied.

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 1          10.    The allegations in Paragraph 10 are denied.

 2          11.    The allegations in Paragraph 11 are denied.

 3          12.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 4 of the allegations in Paragraph 12 and therefore denies the allegations.

 5                                PARTIES AND RELEVANT NONPARTIES

 6 I.       Plaintiff

 7          13.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
 8 of the allegations in Paragraph 13 and therefore denies the allegations.

 9 II.      Defendant
10          14.    Wells Fargo admits in Paragraph 14 that it is a national banking association with
11 its Articles of Incorporation stating that its main office shall be in Sioux Falls, South Dakota.

12 III.     Nonparties
13          15.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
14 of the allegations in Paragraph 15 and therefore denies the allegations.

15          16.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
16 of the allegations in Paragraph 16 and therefore denies the allegations.

17          17.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
18 of the allegations in Paragraph 17 and therefore denies the allegations.

19          18.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
20 of the allegations in Paragraph 18 and therefore denies the allegations.

21          19.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
22 of the allegations in Paragraph 19 and therefore denies the allegations.

23          20.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
24 of the allegations in Paragraph 20 and therefore denies the allegations.

25          21.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
26 of the allegations in Paragraph 21 and therefore denies the allegations.

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 1                                      JURISDICTION AND VENUE

 2          22.    The allegations in the first sentence in Paragraph 22 are conclusions of law to which

 3 no response is required. To the extent a response is required, Wells Fargo admits that the Court has

 4 jurisdiction.

 5          23.    The allegations in the first sentence in Paragraph 23 are conclusions of law to which

 6 no response is required. To the extent a response is required, Wells Fargo admits that the Court has

 7 personal jurisdiction over Defendant, but the remaining allegations are denied.

 8          24.    The allegations in the first sentence in Paragraph 24 are conclusions of law to which

 9 no response is required. To the extent a response is required, Wells Fargo admits that venue is
10 proper, but the remaining allegations are denied.

11          25.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
12 of the allegations in Paragraph 25 and therefore denies the allegations.

13                                       FACTUAL ALLEGATIONS

14 I.       The J&J Investment Scheme

15          26.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
16 of the allegations in Paragraph 26 and therefore denies the allegations.

17          27.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
18 of the allegations in Paragraph 27 and therefore denies the allegations.

19          28.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
20 of the allegations in Paragraph 28 and therefore denies the allegations.

21          29.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
22 of the allegations in Paragraph 29 and therefore denies the allegations.

23          30.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
24 of the allegations in Paragraph 30 and therefore denies the allegations.

25          31.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
26 of the allegations in Paragraph 31 and therefore denies the allegations.

27          32.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
28 of the allegations in Paragraph 32 and therefore denies the allegations.

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 1          33.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 2 of the allegations in Paragraph 33 and therefore denies the allegations.

 3          34.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 4 of the allegations in Paragraph 34 and therefore denies the allegations.

 5          35.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 6 of the allegations in Paragraph 35 and therefore denies the allegations.

 7          36.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 8 of the allegations in Paragraph 36 and therefore denies the allegations.

 9          37.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
10 of the allegations in Paragraph 37 and therefore denies the allegations.

11          38.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
12 of the allegations in Paragraph 38 and therefore denies the allegations.

13 II.      Wells Fargo Knew About and Assisted Beasley’s Looting of the Receivership Entities
14          39.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
15 wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo admits that it

16 administers and monitors accounts in accordance with state and federal laws and regulations and its

17 own policies and procedures—the details of which are contained in documents in writing that speak

18 for themselves. To the extent the allegations of Paragraph 39 contradict or mischaracterize the

19 documents, they are denied. To the extent a response is required, the allegations are denied. The

20 remaining allegations in Paragraph 39 are denied.

21          40.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
22 wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo admits that it

23 administers monitors accounts in accordance with state and federal laws and regulations and its own

24 policies and procedures—the details of which are contained in documents in writing that speak for

25 themselves. To the extent the allegations of Paragraph 40 contradict or mischaracterize the

26 documents, they are denied. To the extent a response is required, the allegations are denied. The

27 remaining allegations in Paragraph 40 are denied.

28          41.    The allegations in Paragraph 41 are denied.

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 1             42.   The allegations in Paragraph 42 are denied.

 2             A.    Beasley and Other Promoters Were Transparent with Wells Fargo About the
                     Nature of the J&J Investment and Their Roles in Managing Funds
 3
               43.   The allegations in Paragraph 43 are denied.
 4
               44.   The allegations in Paragraph 44 purport to construe documents in writing that speak
 5
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
 6
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
 7
     in Paragraph 44 and therefore denies the allegations. The remaining allegations in Paragraph 44 are
 8
     denied.
 9
               45.   The allegations in Paragraph 45 are denied.
10
               46.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
11
     of the remaining allegations in Paragraph 46 and therefore denies the allegations.
12
               47.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
13
     of the remaining allegations in Paragraph 47 and therefore denies the allegations.
14
               48.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
15
     of the remaining allegations in Paragraph 48 and therefore denies the allegations.
16
               49.   The allegations in Paragraph 49 purport to construe documents in writing that speak
17
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
18
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
19
     in Paragraph 49 and therefore denies the allegations. The remaining allegations in Paragraph 49 are
20
     denied.
21
               50.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
22
     of the remaining allegations in Paragraph 50 and therefore denies the allegations.
23
               51.   The allegations in Paragraph 51 purport to construe documents in writing that speak
24
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
25
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
26
     in Paragraph 51 and therefore denies the allegations. The remaining allegations in Paragraph 51 are
27
     denied.
28

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 1           52.    The allegations in Paragraph 52 purport to construe documents in writing that speak

 2 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 3 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 4 in Paragraph 52 and therefore denies the allegations. The remaining allegations in Paragraph 52 are

 5 denied.

 6           53.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 7 of the remaining allegations in Paragraph 53 and therefore denies the allegations.

 8           54.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 9 of the remaining allegations in Paragraph 54 and therefore denies the allegations.
10           55.    The allegations in Paragraph 55 purport to construe documents in writing that speak
11 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

12 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

13 in Paragraph 55 and therefore denies the allegations. The remaining allegations in Paragraph 55 are

14 denied.

15           56.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
16 of the remaining allegations in Paragraph 56 and therefore denies the allegations.

17           57.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
18 of the remaining allegations in Paragraph 57 and therefore denies the allegations.

19           58.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
20 of the remaining allegations in Paragraph 58 and therefore denies the allegations.

21           B.     Wells Fargo is Required to Know its Customers and the Nature of Their
                    Business and Transactions
22
             59.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
23
     of the remaining allegations in Paragraph 59 and therefore denies the allegations.
24
             60.    Wells Fargo admits that it administers and monitors accounts in accordance with
25
     state and federal laws and regulations and its own policies and procedures—the details of which are
26
     contained in documents in writing that speak for themselves. To the extent Paragraph 60 purports
27
     to summarize, quote, or make conclusions based upon 31 C.F.R. § 1020.220, these are documents
28

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 1 in writing and is the best evidence of what is contained therein. To the extent the allegations of

 2 Paragraph 60 contradict or mischaracterize the documents, they are denied. The allegations in

 3 Paragraph 60 are further conclusions of law to which no response is required. To the extent a

 4 response is required, the allegations are denied. The remaining allegations in Paragraph 60 are

 5 denied.

 6           61.   Wells Fargo admits that it administers and monitors accounts in accordance with

 7 state and federal laws and regulations and its own policies and procedures—the details of which are

 8 contained in documents in writing that speak for themselves. To the extent Paragraph 61 purports

 9 to summarize, quote, or make conclusions based upon 31 C.F.R. § 1020.210, these are documents
10 in writing and is the best evidence of what is contained therein. To the extent the allegations of

11 Paragraph 61 contradict or mischaracterize the documents, they are denied. The allegations in

12 Paragraph 61 are further conclusions of law to which no response is required. To the extent a

13 response is required, the allegations are denied. The remaining allegations in Paragraph 61 are

14 denied.

15           62.   The allegations in Paragraph 62 are conclusions of law to which no response is
16 required. To the extent a response is required, Wells Fargo admits that it has certain Anti-Money

17 Laundering obligations as set forth in 12 C.F.R. § 21.21, and Wells Fargo complies with those

18 obligations. To the extent the remaining allegations in Paragraph 62 conflict with those regulations,

19 they are denied.

20           63.   Wells Fargo admits that it administers and monitors accounts in accordance with
21 state and federal laws and regulations and its own policies and procedures—the details of which are

22 contained in documents in writing that speak for themselves. To the extent Paragraph 63 purports

23 to summarize, quote, or make conclusions based upon its policies and procedures, these are

24 documents in writing and is the best evidence of what is contained therein. To the extent the

25 allegations of Paragraph 63 contradict or mischaracterize the documents, they are denied. The

26 allegations in Paragraph 63 are further conclusions of law to which no response is required. To the

27 extent a response is required, the allegations are denied. The remaining allegations in Paragraph 63

28 are denied.

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 1           64.    Wells Fargo admits that it has bank employees responsible for coordinating and

 2 monitoring Anti-Money Laundering compliance. To the extent a further response is required, the

 3 allegations are denied. The remaining allegations in Paragraph 64 are denied.

 4           65.    To the extent Paragraph 65 purports to summarize, quote, or make conclusions based

 5 upon the cited guidance from the Federal Financial Institutions Examination Council (“FFIEC”),

 6 these are documents in writing and is the best evidence of what is contained therein. To the extent

 7 the allegations of Paragraph 65 contradict or mischaracterize the documents, they are denied. The

 8 allegations in Paragraph 65 are further conclusions of law to which no response is required. To the

 9 extent a response is required, the allegations are denied. The remaining allegations in Paragraph 65
10 are denied.

11           66.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
12 wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo admits that it did

13 not exit the relationship with the Beasley IOLTA prior to March 2022. To the extent a further

14 response is required, the allegations are denied. The remaining allegations in Paragraph 66 are

15 denied.

16           C.     Wells Fargo Maintains Sophisticated Internal Controls and Programs to Detect
                    Fraud
17
             67.    Wells Fargo admits that it administers and monitors accounts in accordance with
18
     state and federal laws and regulations and its own policies and procedures—the details of which are
19
     contained in documents in writing that speak for themselves. To the extent Paragraph 67 purports
20
     to summarize, quote, or make conclusions based upon the cited guidance from the FFIEC, these are
21
     documents in writing and is the best evidence of what is contained therein. To the extent the
22
     allegations of Paragraph 67 contradict or mischaracterize the documents, they are denied. The
23
     allegations in Paragraph 67 are further conclusions of law to which no response is required. To the
24
     extent a response is required, the allegations are denied. The remaining allegations in Paragraph 67
25
     are denied.
26
             68.    Wells Fargo admits that it collects information and monitors accounts in accordance
27
     with state and federal laws and regulations and its own policies and procedures—the details of which
28

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 1 are contained in documents in writing that speak for themselves. To the extent a further response is

 2 required, the allegations are denied. The remaining allegations in Paragraph 68 are denied.

 3           69.   The allegations in Paragraph 69 are conclusions of law to which no response is

 4 required. To the extent a response is required, Wells Fargo admits that it has certain obligations to

 5 know its customers as set forth in 31 C.F.R. § 1020.220, and Wells Fargo complies with those

 6 obligations. To the extent the remaining allegations in Paragraph 69 conflict with those regulations,

 7 they are denied.

 8           70.   Wells Fargo admits that it administers and monitors accounts in accordance with

 9 state and federal laws and regulations and its own policies and procedures—the details of which are
10 contained in documents in writing that speak for themselves. To the extent a further response is

11 required, the allegations are denied. The remaining allegations in Paragraph 70 are denied.

12           71.   Wells Fargo admits that it administers and monitors accounts in accordance with
13 state and federal laws and regulations and its own policies and procedures—the details of which are

14 contained in documents in writing that speak for themselves. To the extent a further response is

15 required, the allegations are denied. The remaining allegations in Paragraph 71 are denied.

16           72.   Wells Fargo admits that it monitors accounts in accordance with state and federal
17 laws and regulations and its own policies and procedures—the details of which are contained in

18 documents in writing that speak for themselves. To the extent a further response is required, the

19 allegations are denied. The allegations in Paragraph 72 are denied.

20           73.   Wells Fargo admits only that it is subject to state, federal, and regulatory authorities
21 and had made payment of monetary fines pursuant to action by such authorities—the details of

22 which are contained in documents in writing that speak for themselves. To the extent a further

23 response is required, the allegations are denied. The remaining allegations in Paragraph 73 are

24 denied.

25           74.   Wells Fargo admits that it monitors accounts in accordance with state and federal
26 laws and regulations and its own policies and procedures—the details of which are contained in

27 documents in writing that speak for themselves. To the extent a further response is required, the

28 allegations are denied. The remaining allegations in Paragraph 74 are denied.

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 1           75.   Wells Fargo admits that it entered a Consent Order with the Office of the Comptroller

 2 of the Currency (the “OCC”) in 2015 (the “OCC Consent Order”)—the details of which are

 3 contained in documents in writing that speak for themselves. To the extent Paragraph 75 purports

 4 to summarize, quote, or make conclusions based upon the OCC Consent Order, this is a document

 5 in writing and is the best evidence of what is contained therein. To the extent the allegations of

 6 Paragraph 75 contradict or mischaracterize the document, they are denied. The allegations in

 7 Paragraph 75 are further conclusions of law to which no response is required. To the extent a

 8 response is required, the allegations are denied. The remaining allegations in Paragraph 75 are

 9 denied.
10           76.   Wells Fargo admits that it entered into the OCC Consent Order in 2015—the details
11 of which are contained in documents in writing that speak for themselves. To the extent Paragraph

12 76 purports to summarize, quote, or make conclusions based upon the OCC Consent Order, this is

13 a document in writing and is the best evidence of what is contained therein. To the extent the

14 allegations of Paragraph 76 contradict or mischaracterize the document, they are denied. The

15 allegations in Paragraph 76 are further conclusions of law to which no response is required. To the

16 extent a response is required, the allegations are denied. The remaining allegations in Paragraph 76

17 are denied.

18           77.   The allegations in Paragraph 77 purport to construe documents in writing that speak
19 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

20 denies the remaining allegations in Paragraph 77.

21           78.   Wells Fargo admits that it entered into the OCC Consent Order that was later
22 terminated—the details of which are contained in documents in writing that speak for themselves.

23 To the extent Paragraph 78 purports to summarize, quote, or make conclusions based upon the OCC

24 Consent Order or its termination, these are documents in writing and are the best evidence of what

25 is contained therein. To the extent the allegations of Paragraph 78 contradict or mischaracterize the

26 documents, they are denied. The allegations in Paragraph 78 are further conclusions of law to which

27 no response is required. To the extent a response is required, the allegations are denied. The

28 remaining allegations in Paragraph 78 are denied.

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 1          79.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 2 of the allegations in Paragraph 79 and therefore denies the allegations.

 3          80.    Wells Fargo admits that it utilizes software to monitor transactions in demand deposit

 4 accounts and provides training to its employees on a case-by-case basis as needed to carry out their

 5 job responsibilities. Wells Fargo lacks knowledge or information sufficient to form a belief as to

 6 the truth of the remaining allegations in Paragraph 80 and therefore denies the allegations. The

 7 remaining allegations in Paragraph 80 are denied.

 8          81.    Wells Fargo admits that it provides training to its employees on a case-by-case basis

 9 as needed to carry out their job responsibilities—the details of which are reflected in documents in
10 writing that speak for themselves. To the extent a further response is required, the allegations are

11 denied. The remaining allegations in Paragraph 81 are denied.

12          82.    Wells Fargo admits that it provides training to its employees on a case-by-case basis
13 as needed to carry out their job responsibilities—the details of which are reflected in documents in

14 writing that speak for themselves. To the extent a further response is required, the allegations are

15 denied. The remaining allegations in Paragraph 82 are denied.

16          83.    The allegations in Paragraph 83 purport to construe documents in writing that speak
17 for themselves. To the extent a further response is required, the allegations are denied. The

18 remaining allegations in Paragraph 83 are denied.

19          84.    Wells Fargo admits that it provides training to its employees on a case-by-case basis
20 as needed to carry out their job responsibilities—the details of which are reflected in documents in

21 writing that speak for themselves. To the extent a further response is required, the allegations are

22 denied. The remaining allegations in Paragraph 84 are denied.

23          85.    Wells Fargo admits that it provides training to its employees on a case-by-case basis
24 as needed to carry out their job responsibilities—the details of which are reflected in documents in

25 writing that speak for themselves. To the extent a further response is required, the allegations are

26 denied. The remaining allegations in Paragraph 85 are denied.

27          86.    Wells Fargo admits that it provides training to its employees on a case-by-case basis
28 as needed to carry out their job responsibilities—the details of which are reflected in documents in

                                                     12
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 1 writing that speak for themselves. To the extent a further response is required, the allegations are

 2 denied. The remaining allegations in Paragraph 86 are denied.

 3           87.   The allegations in Paragraph 87 are denied.

 4           88.   The allegations in Paragraph 88 are conclusions of law to which no response is

 5 required. To the extent a response is required, the allegations are denied.

 6           89.   Wells Fargo admits that it utilizes software to monitor transactions in demand deposit

 7 accounts, and at one time used Actimize in this capacity. Wells Fargo lacks knowledge or

 8 information sufficient to form a belief as to the truth of the allegations in the second sentence of

 9 Paragraph 89 and therefore denies the allegations. The remaining allegations in Paragraph 89 are
10 denied.

11           90.   Wells Fargo admits that it utilizes software to monitor transactions in demand deposit
12 accounts, and at one time used Actimize in this capacity. Wells Fargo lacks knowledge or

13 information sufficient to form a belief as to the truth of the allegations in the second sentence of

14 Paragraph 90 and therefore denies the allegations. The remaining allegations in Paragraph 90 are

15 denied.

16           D.    Wells Fargo Knows the Purpose and Risks Associated with IOLTAs
17           91.   Wells Fargo admits that it offers IOLTA accounts and that Matthew Beasley held an
18 IOLTA at Wells Fargo. The allegations in the first and last sentences of Paragraph 91 are

19 conclusions of law to which no response is required. To the extent a response is required, the

20 allegations are denied. The remaining allegations in Paragraph 91 are denied.

21           92.   To the extent Paragraph 92 purports to summarize, quote, or make conclusions based
22 upon the cited statute, law, regulation, or rule, these are documents in writing and are the best

23 evidence of what is contained therein. To the extent the allegations of Paragraph 92 contradict or

24 mischaracterize the documents, they are denied. The allegations in Paragraph 92 are further

25 conclusions of law to which no response is required. To the extent a response is required, the

26 allegations are denied. The remaining allegations in Paragraph 92 are denied.

27           93.   To the extent Paragraph 93 purports to summarize, quote, or make conclusions about
28 the State Bar of Nevada’s Trust Accounting, that document is in writing and is the best evidence of

                                                     13
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 1 what is contained therein.        To the extent the allegations of Paragraph 93 contradict or

 2 mischaracterize the documents, they are denied. The allegations in Paragraph 93 are further

 3 conclusions of law to which no response is required. To the extent a response is required, the

 4 allegations are denied. The remaining allegations in Paragraph 93 are denied.

 5           94.    To the extent Paragraph 94 purports to summarize, quote, or make conclusions about

 6 the State Bar of Nevada’s Trust Accounting, that document is in writing and is the best evidence of

 7 what is contained therein.        To the extent the allegations of Paragraph 94 contradict or

 8 mischaracterize the documents, they are denied. The allegations in Paragraph 94 are further

 9 conclusions of law to which no response is required. To the extent a response is required, the
10 allegations are denied. The remaining allegations in Paragraph 94 are denied.

11           95.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
12 of the allegations in Paragraph 95 and therefore denies the allegations.

13           96.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
14 of the allegations in Paragraph 96 and therefore denies the allegations.

15           97.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
16 of the allegations in Paragraph 97 and therefore denies the allegations.

17           98.    The allegations in Paragraph 98 purport to construe documents in writing that speak
18 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

19 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

20 in Paragraph 98 and therefore denies the allegations. The remaining allegations in Paragraph 98 are

21 denied.

22           E.     Wells Fargo Conducted Due Diligence into Beasley and Knew the Account
                    Activity It Could Expect in the 5598 IOLTA
23
             99.    Wells Fargo admits that it conducts due diligence on customer accounts in
24
     accordance with state and federal laws and its policies and procedures—the details of which are
25
     reflected in documents in writing that speak for themselves. To the extent a further response is
26
     required, the allegations are denied. The remaining allegations in Paragraph 99 are denied.
27
             100.   Wells Fargo admits that Matthew Beasley opened an IOLTA at Wells Fargo—the
28

                                                      14
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 1 details of which are contained in documents in writing that speak for themselves. Wells Fargo

 2 admits that customers are required to open an IOLTA in person at a branch. To the extent a further

 3 response is required, the allegations are denied. The remaining allegations in Paragraph 100 are

 4 denied.

 5           101.   Wells Fargo admits that Matthew Beasley opened an IOLTA at Wells Fargo—the

 6 details of which are contained in documents in writing that speak for themselves. To the extent a

 7 further response is required, the allegations are denied. The remaining allegations in Paragraph 101

 8 are denied.

 9           102.   Wells Fargo admits that Matthew Beasley opened an IOLTA at Wells Fargo—the
10 details of which are contained in documents in writing that speak for themselves. To the extent a

11 further response is required, the allegations are denied. The remaining allegations in Paragraph 102

12 are denied.

13           103.   Wells Fargo admits that Matthew Beasley opened an IOLTA at Wells Fargo—the
14 details of which are contained in documents in writing that speak for themselves. To the extent a

15 further response is required, the allegations are denied. The remaining allegations in Paragraph 103

16 are denied.

17           104.   Wells Fargo admits that Matthew Beasley opened an IOLTA at Wells Fargo—the
18 details of which are contained in documents in writing that speak for themselves. To the extent a

19 further response is required, the allegations are denied. The remaining allegations in Paragraph 104

20 are denied.

21           105.   Wells Fargo admits that Matthew Beasley maintained two business checking
22 accounts at Wells Fargo—the details of which are contained in documents in writing that speak for

23 themselves. To the extent Paragraph 105 purports to summarize, quote, or make conclusions based

24 upon the cited guidance from the FFIEC, these are documents in writing and are the best evidence

25 of what is contained therein.      To the extent the allegations of Paragraph 105 contradict or
26 mischaracterize the documents, they are denied. The remaining allegations in Paragraph 105 are

27 denied.

28           106.   Wells Fargo admits only that it is familiar with IOLTA accounts. The allegations in

                                                    15
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 1 Paragraph 106 are conclusions of law to which no response is required. To the extent a response is

 2 required, the allegations are denied. The remaining allegations in Paragraph 106 are denied.

 3          F.      Beasley Used the 5598 IOLTA to Perpetrate a Ponzi Scheme with the
                    Receivership Entities’ Funds, Thereby Triggering Suspicious Activity Systems
 4                  and Notifying Wells Fargo of the Misappropriation
 5          107.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
 6 of the allegations in Paragraph 107 and therefore denies the allegations.

 7          108.    The allegations in Paragraph 108 are denied.
 8          109.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
 9 of the allegations in Paragraph 109 and therefore denies the allegations.
10          110.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
11 of the allegations in Paragraph 110 and therefore denies the allegations.

12          111.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
13 wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo lacks knowledge or

14 information sufficient to form a belief as to the truth of the allegations in Paragraph 111 regarding

15 what individual employees or former employees thought, said, or did and therefore denies the

16 allegations. The remaining allegations in Paragraph 111 are denied.

17          112.    The allegations in Paragraph 112 are denied.
18                  1.     Beasley’s Law Practice and Instead Suggested Operation of an
19                         Investment Company

20          113.    The allegations in Paragraph 113 purport to construe documents in writing that speak

21 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

22 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

23 in Paragraph 113 and therefore denies the allegations. The remaining allegations in Paragraph 113

24 are denied.

25          114.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the

26 truth of the allegations in Paragraph 114 and therefore denies the allegations.

27          115.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

28 of the allegations in Paragraph 115 and therefore denies the allegations.

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 1          116.    The allegations in Paragraph 116 purport to construe documents in writing that speak

 2 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 3 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 4 in Paragraph 116 and therefore denies the allegations. The remaining allegations in Paragraph 116

 5 are denied.

 6          117.    The allegations in Paragraph 117 purport to construe documents in writing that speak

 7 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 8 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 9 in Paragraph 117 and therefore denies the allegations. The remaining allegations in Paragraph 117
10 are denied.

11          118.    The allegations in Paragraph 118 purport to construe documents in writing that speak
12 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

13 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

14 in Paragraph 118 and therefore denies the allegations. The remaining allegations in Paragraph 118

15 are denied.

16          119.    The allegations in Paragraph 119 purport to construe documents in writing that speak
17 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

18 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

19 in Paragraph 119 and therefore denies the allegations. The remaining allegations in Paragraph 119

20 are denied.

21          120.    The allegations in Paragraph 120 purport to construe documents in writing that speak
22 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

23 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

24 in Paragraph 120 and therefore denies the allegations. The remaining allegations in Paragraph 120

25 are denied.

26          121.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
27 of the allegations in Paragraph 121 and therefore denies the allegations.

28          122.    The allegations in Paragraph 122 purport to construe documents in writing that speak

                                                      17
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 1 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 2 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 3 in Paragraph 122 and therefore denies the allegations. The remaining allegations in Paragraph 122

 4 are denied.

 5          123.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 6 of the allegations in Paragraph 123 and therefore denies the allegations.

 7          124.    The allegations in Paragraph 124 purport to construe documents in writing that speak

 8 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 9 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
10 in Paragraph 124 and therefore denies the allegations. The remaining allegations in Paragraph 124

11 are denied.

12          125.    The allegations in Paragraph 125 purport to construe documents in writing that speak
13 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

14 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

15 in Paragraph 125 and therefore denies the allegations. The remaining allegations in Paragraph 125

16 are denied.

17          126.    The allegations in Paragraph 126 purport to construe documents in writing that speak
18 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

19 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

20 in Paragraph 126 and therefore denies the allegations. The remaining allegations in Paragraph 126

21 are denied.

22          127.    The allegations in Paragraph 127 purport to construe documents in writing that speak
23 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

24 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

25 in Paragraph 127 and therefore denies the allegations. The remaining allegations in Paragraph 127

26 are denied.

27          128.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
28 of the allegations in Paragraph 128 and therefore denies the allegations.

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 1          129.    The allegations in Paragraph 129 purport to construe documents in writing that speak

 2 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 3 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 4 in Paragraph 129 and therefore denies the allegations. The remaining allegations in Paragraph 129

 5 are denied.

 6          130.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged

 7 wrongdoing by Beasley or anyone acting in consort with Beasley. To the extent Paragraph 130

 8 purports to summarize, quote, or make conclusions based upon the cited guidance from the FFIEC

 9 and Wells Fargo policies and procedures, these are documents in writing and are the best evidence
10 of what is contained therein.       To the extent the allegations of Paragraph 130 contradict or
11 mischaracterize the documents, they are denied. The allegations in Paragraph 130 are further

12 conclusions of law to which no response is required. To the extent a response is required, the

13 allegations are denied. The remaining allegations in Paragraph 130 are denied.

14          131.    The allegations in Paragraph 131 are denied.
15                  2.      The 5598 IOLTA Showed No Real Investment by Beasley for the
                            Receivership Entities
16
            132.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
17
     of the allegations in Paragraph 132 and therefore denies the allegations.
18
            133.    The allegations in Paragraph 133 purport to construe documents in writing that speak
19
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
20
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
21
     in Paragraph 133 and therefore denies the allegations. The remaining allegations in Paragraph 133
22
     are denied.
23
            134.    The allegations in Paragraph 134 purport to construe documents in writing that speak
24
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
25
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
26
     in Paragraph 134 and therefore denies the allegations. The remaining allegations in Paragraph 134
27
     are denied.
28

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 1          135.    The allegations in Paragraph 135 purport to construe documents in writing that speak

 2 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 3 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 4 in Paragraph 135 and therefore denies the allegations. The remaining allegations in Paragraph 135

 5 are denied.

 6          136.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

 7 of the allegations in Paragraph 136 and therefore denies the allegations.

 8                  3.      The Nature and Frequency of the Transfers in and out of the 5598
                            IOLTA Triggered Red Flags
 9
            137.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
10
     wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo denies the allegations
11
     in Paragraph 137.
12
            138.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
13
     wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo admits that it uses
14
     electronic monitoring systems and has personnel who identify suspicious patterns. Wells Fargo
15
     denies the remaining allegations in Paragraph 138.
16
            139.    The allegations in Paragraph 139 purport to construe documents in writing that speak
17
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
18
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
19
     in Paragraph 139 and therefore denies the allegations. The remaining allegations in Paragraph 139
20
     are denied.
21
            140.    The allegations in Paragraph 140 purport to construe documents in writing that speak
22
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
23
     lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
24
     in Paragraph 140 and therefore denies the allegations. The remaining allegations in Paragraph 140
25
     are denied.
26
            141.    The allegations in Paragraph 141 purport to construe documents in writing that speak
27
     for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo
28

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 1 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 2 in Paragraph 141 and therefore denies the allegations. The remaining allegations in Paragraph 141

 3 are denied.

 4          142.    The allegations in Paragraph 142 purport to construe documents in writing that speak

 5 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 6 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 7 in Paragraph 142 and therefore denies the allegations. The remaining allegations in Paragraph 142

 8 are denied.

 9          143.    Wells Fargo admits that certain “promoters” held accounts at Wells Fargo. The
10 remaining allegations in Paragraph 143 purport to construe documents in writing that speak for

11 themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

12 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

13 in Paragraph 143 and therefore denies the allegations. The remaining allegations in Paragraph 143

14 are denied.

15          144.    Wells Fargo admits that it provides training and requires its employees to comply
16 with banking regulations including AML guidelines. To the extent a further response is required,

17 the allegations are denied. The remaining allegations in Paragraph 144 are denied.

18          145.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
19 wrongdoing by Beasley or anyone acting in consort with Beasley. To the extent Paragraph 145

20 purports to summarize, quote, or make conclusions based upon the cited guidance from the FFIEC

21 and Wells Fargo policies and procedures, these are documents in writing and are the best evidence

22 of what is contained therein.       To the extent the allegations of Paragraph 145 contradict or
23 mischaracterize the documents, they are denied. The allegations in Paragraph 145 are further

24 conclusions of law to which no response is required. To the extent a response is required, the

25 allegations are denied. The remaining allegations in Paragraph 145 are denied.

26                  4.     The 5598 IOLTA was Used for Facially Impermissible Purposes
27          146.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
28 of the allegations in Paragraph 146 and therefore denies the allegations.

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 1          147.    Wells Fargo admits that Beasley withdrew funds from his IOLTA account. The

 2 allegations remaining in Paragraph 147 purport to construe documents in writing that speak for

 3 themselves. To the extent a further response is required, the allegations are denied.

 4          148.    Wells Fargo admits that Beasley withdrew funds from his IOLTA account. The

 5 allegations remaining in Paragraph 148 purport to construe documents in writing that speak for

 6 themselves. To the extent a further response is required, the allegations are denied.

 7          149.    Wells Fargo admits that Beasley withdrew funds from his IOLTA account. The

 8 allegations remaining in Paragraph 149 purport to construe documents in writing that speak for

 9 themselves. To the extent a further response is required, the allegations are denied.
10          150.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
11 of the allegations in Paragraph 150 and therefore denies the allegations.

12          151.    The allegations in Paragraph 151 purport to construe documents in writing that speak
13 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

14 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

15 in Paragraph 151 and therefore denies the allegations. The remaining allegations in Paragraph 151

16 are denied.

17          152.    The allegations in Paragraph 152 purport to construe documents in writing that speak
18 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

19 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

20 in Paragraph 152 and therefore denies the allegations. The remaining allegations in Paragraph 152

21 are denied.

22          153.    The allegations in Paragraph 153 purport to construe documents in writing that speak
23 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

24 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations

25 in Paragraph 153 and therefore denies the allegations. The remaining allegations in Paragraph 153

26 are denied.

27          154.    To the extent Paragraph 154 purports to summarize, quote, or make conclusions
28 about the State Bar of Nevada’s Trust Accounting, that document is in writing and is the best

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 1 evidence of what is contained therein. To the extent the allegations of Paragraph 154 contradict or

 2 mischaracterize the documents, they are denied. The allegations in Paragraph 154 are further

 3 conclusions of law to which no response is required. To the extent a response is required, the

 4 allegations are denied. To the extent the allegations in Paragraph 154 purport to summarize Wells

 5 Fargo’s knowledge of the cited material, the allegations are denied. The remaining allegations in

 6 Paragraph 154 are denied.

 7          155.   The allegations in Paragraph 155 purport to construe documents in writing that speak

 8 for themselves. To the extent a further response is required, the allegations are denied. Wells Fargo

 9 lacks knowledge or information sufficient to form a belief as to the truth of the remaining allegations
10 in Paragraph 155 and therefore denies the allegations. The remaining allegations in Paragraph 155

11 are denied.

12          156.   Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged
13 wrongdoing by Beasley or anyone acting in consort with Beasley. To the extent Paragraph 156

14 purports to summarize, quote, or make conclusions based upon the cited guidance from the FFIEC

15 and Wells Fargo policies and procedures, these are documents in writing and are the best evidence

16 of what is contained therein.      To the extent the allegations of Paragraph 156 contradict or
17 mischaracterize the documents, they are denied. The allegations in Paragraph 156 are further

18 conclusions of law to which no response is required. To the extent a response is required, the

19 allegations are denied. The remaining allegations in Paragraph 156 are denied.

20 III.     Beasley’s Looting Continued Uninterrupted Until the Government Intervened
21          157.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

22 of the allegations in Paragraph 157 and therefore denies the allegations.

23          158.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

24 of the allegations in Paragraph 158 and therefore denies the allegations.

25          159.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

26 of the allegations in Paragraph 159 and therefore denies the allegations.

27          160.   Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged

28 wrongdoing by Beasley or anyone acting in consort with Beasley. The allegations in Paragraph 160

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 1 purport to construe documents in writing that speak for themselves. To the extent a further response

 2 is required, the allegations are denied. Wells Fargo denies the remaining allegations in Paragraph

 3 160.

 4          161.   Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged

 5 wrongdoing by Beasley or anyone acting in consort with Beasley. The allegations in Paragraph 161

 6 purport to construe documents in writing that speak for themselves. To the extent a further response

 7 is required, the allegations are denied. Wells Fargo denies the remaining allegations in Paragraph

 8 161.

 9          162.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
10 of the allegations in Paragraph 162 and therefore denies the allegations.

11          163.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
12 of the allegations in Paragraph 163 and therefore denies the allegations.

13          164.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
14 of the allegations in Paragraph 164 and therefore denies the allegations.

15          165.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
16 of the allegations in Paragraph 165 and therefore denies the allegations.

17          166.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
18 of the allegations in Paragraph 166 and therefore denies the allegations.

19          167.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
20 of the allegations in Paragraph 167 and therefore denies the allegations.

21          168.   Wells Fargo admits that the SEC filed the SEC Complaint in the SEC Action and
22 that a receiver was appointed. The remainder of the allegations of Paragraph 168 purport to

23 summarize the SEC Complaint and supporting evidence filed in that action, each of which are

24 documents in writing and are the best evidence of what is contained therein. To the extent the

25 allegations of Paragraph 168 contradict or mischaracterize these documents, they are denied.

26          169.   The allegations in Paragraph 169 purport to summarize the SEC Complaint and
27 supporting evidence filed in that action, each of which are documents in writing and are the best

28 evidence of what is contained therein. To the extent the allegations of Paragraph 169 contradict or

                                                     24
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 1 mischaracterize these documents, they are denied.

 2          170.   The allegations in Paragraph 170 purport to summarize the SEC Complaint and other

 3 documents filed in that action, each of which are documents in writing and are the best evidence of

 4 what is contained therein. To the extent the allegations of Paragraph 170 contradict or

 5 mischaracterize these documents, they are denied.

 6          171.   The allegations in Paragraph 171 purport to summarize documents filed in the SEC

 7 Action, each of which are documents in writing and are the best evidence of what is contained

 8 therein.   To the extent the allegations of Paragraph 171 contradict or mischaracterize these

 9 documents, they are denied.
10          172.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
11 of the allegations in Paragraph 172 and therefore denies the allegations.

12          173.   The allegations in Paragraph 173 purport to summarize documents filed in the SEC
13 Action, each of which are documents in writing and are the best evidence of what is contained

14 therein.   To the extent the allegations of Paragraph 173 contradict or mischaracterize these
15 documents, they are denied.

16          174.   The allegations in Paragraph 174 purport to summarize documents filed in the
17 Criminal Action, each of which are documents in writing and are the best evidence of what is

18 contained therein. To the extent the allegations of Paragraph 174 contradict or mischaracterize these

19 documents, they are denied.

20          175.   The allegations in Paragraph 175 purport to summarize documents filed in the
21 Criminal Action, each of which are documents in writing and are the best evidence of what is

22 contained therein. To the extent the allegations of Paragraph 175 contradict or mischaracterize these

23 documents, they are denied.

24          176.   Wells Fargo admits in Paragraph 176 that the SEC filed the complaint in the SEC
25 Action, Matthew Beasley was indicted in the Criminal Action, and both the SEC Action and the

26 Criminal Action remain pending in the District of Nevada.

27          177.   Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth
28 of the allegations in Paragraph 177 and therefore denies the allegations.

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 1           178.    Wells Fargo denies it had actual knowledge of, or provided assistance to, any alleged

 2 wrongdoing by Beasley or anyone acting in consort with Beasley. Wells Fargo lacks knowledge or

 3 information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 178

 4 and therefore denies the allegations.

 5                    COUNT I – AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

 6           179.    The responses set forth in Paragraphs 1 through 178 of this Answer are incorporated

 7 herein by reference as if set forth in full.

 8           180.    The allegations in Paragraph 180 are conclusions of law to which no response is

 9 required. To the extent a response is required, the allegations are denied.
10           181.    The allegations in Paragraph 181 are conclusions of law to which no response is
11 required. To the extent a response is required, the allegations are denied.

12           182.    The allegations in Paragraph 182 are denied.
13           183.    The allegations in Paragraph 183 are denied.
14           184.    The allegations in Paragraph 184 are denied.
15           185.    The allegations in Paragraph 185 are denied.
16           186.    The allegations in Paragraph 186 are denied.
17           187.    The allegations in Paragraph 187 are denied.
18           188.    The allegations in Paragraph 188 are denied.
19                                COUNT II – AIDING AND ABETTING FRAUD

20           189.    The responses set forth in Paragraphs 1 through 188 of this Answer are incorporated

21 herein by reference as if set forth in full.

22           190.    Wells Fargo lacks knowledge or information sufficient to form a belief as to the truth

23 of the allegations in Paragraph 190 and therefore denies the allegations.

24           191.    The allegations in Paragraph 191 are denied.

25           192.    The allegations in Paragraph 192 are denied.

26           193.    The allegations in Paragraph 193 are denied.

27           194.    The allegations in Paragraph 194 are denied.

28           195.    The allegations in Paragraph 195 are denied.

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 1           196.    The allegations in Paragraph 196 are denied.

 2           197.    The allegations in Paragraph 197 are denied.

 3                            COUNT III – AIDING AND ABETTING CONVERSION

 4           198.    The responses set forth in Paragraphs 1 through 197 of this Answer are incorporated

 5 herein by reference as if set forth in full.

 6           199.    The allegations in Paragraph 199 are conclusions of law to which no response is

 7 required. To the extent a response is required, the allegations are denied.

 8           200.    The allegations in Paragraph 200 are denied.

 9           201.    The allegations in Paragraph 201 are denied.
10           202.    The allegations in Paragraph 202 are denied.
11           203.    The allegations in Paragraph 203 are denied.
12           204.    The allegations in Paragraph 204 are denied.
13           205.    The allegations in Paragraph 205 are denied.
14           206.    The allegations in Paragraph 206 are denied.
15                                      COUNT IV – NEGLIGENCE

16           207.    The responses set forth in Paragraphs 1 through 206 of this Answer are incorporated

17 herein by reference as if set forth in full.

18           208.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

19 therefore a response to this allegation is not required.

20           209.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

21 therefore a response to this allegation is not required.

22           210.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

23 therefore a response to this allegation is not required.

24           211.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

25 therefore a response to this allegation is not required.

26           212.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

27 therefore a response to this allegation is not required.

28           213.    The Receiver has agreed to voluntarily dismiss this cause of action, and therefore a

                                                      27
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 1 response to this allegation is not required.

 2          214.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

 3 therefore a response to this allegation is not required.

 4          215.    The Receiver has agreed to voluntarily dismiss this cause of action (Dkt. 25), and

 5 therefore a response to this allegation is not required.

 6                 COUNT V – VIOLATION OF THE NEVADA UNIFORM FIDUCIARIES ACT

 7          216.    The responses set forth in Paragraphs 1 through 215 of this Answer are incorporated

 8 herein by reference as if set forth in full.

 9          217.    The allegations in Paragraph 217 are conclusions of law to which no response is
10 required. To the extent a response is required, the allegations are denied.

11          218.    The allegations in Paragraph 218 are conclusions of law to which no response is
12 required. To the extent a response is required, the allegations are denied.

13          219.    The allegations in Paragraph 219 are conclusions of law to which no response is
14 required. To the extent a response is required, the allegations are denied.

15          220.    The allegations in Paragraph 220 are conclusions of law to which no response is
16 required. To the extent a response is required, the allegations are denied.

17          221.    The allegations in Paragraph 221 are denied.
18          222.    The allegations in Paragraph 222 are denied.
19          223.    The allegations in Paragraph 223 are denied.
20          224.    The allegations in Paragraph 224 are denied.
21          225.    The allegations in Paragraph 225 are denied.
22          Wells Fargo denies each and every allegation not specifically admitted here.
23                                           REQUEST FOR RELIEF

24          WHEREFORE, the Receiver requests entry of a judgment against Wells Fargo awarding the

25 following relief:

26                  a.      An award of damages and all other available monetary relief, including pre-

27                          judgment interest, on each claim and in an amount to be established at trial;

28                  b.      An award of punitive damages in an amount to be established at trial;

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 1                 c.      An award of reasonable attorneys’ fees and costs; and

 2                 d.      Such other and further relief as this Court may deem just and proper.

 3          Wells Fargo denies any wrongdoing and that further denies the Receiver and the

 4 Receivership Entities’ are entitled to the relief requested.

 5                                     AFFIRMATIVE DEFENSES

 6                 Wells Fargo hereby alleges the following separate and distinct defenses and

 7 affirmative defenses to the Complaint and the causes of action asserted against Wells Fargo therein,

 8 and without assuming the burden of proof on matters as to which they have no such burden:

 9                                 FIRST AFFIRMATIVE DEFENSE
10                                           (Failure to State a Claim)

11          1.     The Complaint fails to state a claim against Wells Fargo upon which relief can be

12 granted.

13                                SECOND AFFIRMATIVE DEFENSE

14                                           (Statute of Limitations)

15          2.     The Receiver and the Receivership Entities’ claims are barred in whole or in part by

16 the applicable statutes of limitations.

17                                 THIRD AFFIRMATIVE DEFENSE

18                                     (Failure to Mitigate Damages)

19          3.     The Receiver and the Receivership Entities failed to take proper and reasonable steps

20 to avoid, minimize, or mitigate their alleged damages and, to the extent of such failure, the damages

21 allegedly incurred by them, if any, should be reduced accordingly or eliminated entirely.

22                               FOURTH AFFIRMATIVE DEFENSE

23                                               (Unclean Hands)

24          4.     The Receiver and the Receivership Entities’ claims are barred, in whole or in part,

25 by the doctrine of unclean hands.

26                                 FIFTH AFFIRMATIVE DEFENSE

27                                                   (Laches)

28          5.     The Receiver and the Receivership Entities’ claims are barred, in whole or in part,

                                                        29
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 1 by the doctrine of laches.

 2                                SIXTH AFFIRMATIVE DEFENSE

 3                                              (Estoppel)

 4          6.     The Receiver and the Receivership Entities are estopped by the action of law or by

 5 conduct from maintaining the Complaint filed in this case.

 6                              SEVENTH AFFIRMATIVE DEFENSE

 7                                             (Co-Liability)

 8          7.     Wells Fargo alleges that any injury or damages which may have been sustained by

 9 the Receiver and the Receivership Entities were proximately caused by the acts, errors, or omissions
10 of persons or entities other than Wells Fargo.

11                               EIGHTH AFFIRMATIVE DEFENSE

12                                           (Fault of Others)

13          8.     If the Receiver and the Receivership Entities suffered or sustained any loss, injury,

14 damage, or detriment, the same was directly and proximately caused and contributed to by the

15 breach, conduct, acts, omissions, activities, carelessness, recklessness, negligence, and/or

16 intentional misconduct or intervening acts of other third parties, and not by Wells Fargo.

17                                NINTH AFFIRMATIVE DEFENSE

18                                        (Speculative Damages)

19          9.     Wells Fargo alleges any damage or loss the Receiver and the Receivership Entities

20 did incur as a result of any act or conduct by Wells Fargo would be speculative at best and thus too

21 uncertain for recovery.

22                                TENTH AFFIRMATIVE DEFENSE

23                                        (Compliance with Law)

24          10.    Wells Fargo met or exceeded the requirements of applicable laws, regulations, and

25 standards.

26                              ELEVENTH AFFIRMATIVE DEFENSE

27                    (Good Faith Conduct/Conformance with Applicable Standards)

28          11.    Wells Fargo at all times acted in good faith and in conformance with all applicable

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 1 government and industry standards, rules, and regulations, thus precluding any recovery by the

 2 Receiver and the Receivership Entities against Wells Fargo.

 3                              TWELFTH AFFIRMATIVE DEFENSE

 4                                         (Lack of Causation)

 5          12.    The damages complained of were the result of the intervening actions of others and

 6 were not proximately caused by the actions or omissions of the Wells Fargo.

 7                            THIRTEENTH AFFIRMATIVE DEFENSE

 8                                           (Lack of Malice)

 9          13.    Wells Fargo specifically denies acting with any willfulness, oppression, fraud, or
10 malice toward the Receiver and the Receivership Entities or others.

11                            FOURTEENTH AFFIRMATIVE DEFENSE

12                                          (Lack of Standing)

13          14.    The Receiver and the Receivership Entities’ claims are barred because the Receiver

14 and the Receivership Entities lack standing to bring them.

15                             FIFTEENTH AFFIRMATIVE DEFENSE

16                                              (Consent)

17          15.    The Receiver and the Receivership Entities’ claims are barred because the Receiver

18 and the Receivership Entities consented to any alleged conduct in the Complaint.

19                             SIXTEENTH AFFIRMATIVE DEFENSE

20                                         (Assumption of Risk)

21          16.    The Receiver and the Receivership Entities, themselves and/or through their agent(s),

22 acted with full knowledge and understanding of the relevant facts and circumstances surrounding

23 the transactions and relations at issue in their litigation and assumed any and all risks associated

24 therewith. The Receiver and the Receivership Entities are therefore barred from obtaining the relief

25 sought in the Complaint.

26                           SEVENTEENTH AFFIRMATIVE DEFENSE

27                                             (Ratification)

28          17.    The Complaint, and each purported cause of action alleged therein, is barred by the

                                                    31
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 1 conduct, actions and inactions of the Receiver and the Receivership Entities, and/or the persons on

 2 whose behalf they purport to bring this action, under the doctrine of ratification.

 3                                EIGHTEENTH AFFIRMATIVE DEFENSE

 4                                              (No Breach of Duty)

 5          18.        Wells Fargo denies that it or any of its agents, principals, or representatives breached

 6 any duty or obligations allegedly owed to the Receiver and the Receivership Entities or the persons

 7 on whose behalf they purport to bring this action.

 8                                NINETEENTH AFFIRMATIVE DEFENSE

 9                                                   (Recovery)
10          19.        The Receiver and the Receivership Entities’ claims are barred, in whole or in part,
11 because they have received returns or recoveries on their losses and therefore have not suffered

12 damages or their damages have been reduced.

13                                TWENTIETH AFFIRMATIVE DEFENSE

14                                  (Other Defenses – Putative Class Members)

15          21.        Wells Fargo reserves the right to amend or supplement its affirmative defenses to

16 include defenses that may be applicable to other members of the putative class.

17                                     OTHER AFFIRMATIVE DEFENSES

18          22.        Wells Fargo has insufficient knowledge or information upon which to form a belief

19 as to whether it may have additional, as yet unstated, defenses available. Wells Fargo expressly

20 reserves the right to assert additional defenses in the event that discovery indicates that such defenses

21 are appropriate.

22                                           PRAYER FOR RELIEF

23          WHEREFORE, Defendant Wells Fargo prays for judgment as follows:

24                1.      That judgment be entered in favor of Wells Fargo;

25                2.      That the Receiver and the Receivership Entities take nothing by way of the

26                        Complaint and the claims asserted therein;

27                3.      That the Complaint, and the claims against Wells Fargo, be dismissed with

28                        prejudice;

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 1             4.      That Wells Fargo be awarded costs of suit, including attorneys’ fees incurred in

 2                     defense of this action; and

 3             5.      That Wells Fargo be granted such other relief as the Court deems just and

 4                     proper.

 5

 6    Dated: July 7, 2023                              Respectfully submitted,

 7                                              By:    /s/ Joseph G. Went
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 1                                   CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that on the 7th day of July, 2023, a true and correct copy of the

 3 foregoing Answer to Complaint was filed electronically through the CM/ECF system and served on

 4 the registered participants as identified on the Notice of Electronic Filing (NEF).

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                                         CERTIFICATE OF SERVICE
